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         1                        UNITED STATES COURT OF APPEALS
         2
         3                      FOR THE NINTH CIRCUIT
         4
         5
         6
         7   Docket 24-6015
         8   Case 1:24-CV-1395-IM
         9                                              MOTION FOR DECISION AND
        10                                              EXECUTION OF SUMMARY
        11                                              JUDGMENT (FRCP 56)
        12
        13    David White, Pro Se P1
        14    18965 NW Illahe St,
        15    Portland, OR.
        16   dave@salmonprotectiondevice.com
        17    503-608-7611
        18    Tom Doud Plaintiff Pro Se P2
        19    4254 Chevy Chase Dr, La Cañada
        20    Flintridge, CA, USA 97011
        21    213-248-7832
        22    tdoud4@gmail.com
        23
        24
        25    vs.
        26    Defendant 1. (D1)
        27    Susana Dietrich
        28    601 Jackpine Dr,
        29    Grants Pass, OR 97526
        30    2140 Bobcat Ave SW
        31    Albany, OR 97321-4872
        32    mitt@dietrichconst.com
        33    541-974-3251
        34
        35    Defendant 2. (D2)
        36    Mary Lou Soscia in her
        37    Personal capacity as President of
        38    Water Watch of Oregon
        39
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                                                     2


         1    Defendant 3 (D3)
         2    Bryan Sohlin in his personal capacity as Vice
         3    President of Water Watch of Oregon
         4    213 SW Ash St., Suite 208
         5    Portland, OR 97204
         6
         7    Defendant 4 (D4)
         8    Neil Brandt in his personal capacity as
         9    Executive Director of
        10    Water Watch of Oregon
        11    213 SW Ash St., Suite 208
        12    Portland, OR 97204
        13    503-295-4039x 101
        14    neil@waterwatch.org
        15
        16    Melanie Klym (D5)
        17    River Design Group
        18    311 SW Jefferson Avenue
        19    Corvallis, Oregon 97333
        20    Phone: 541.738.2920
        21    info@riverdesigngroup.com
        22   Legal Counsel for Water Watch defendants
        23    Kaitlin Lovell
        24    Attorney-Advisor
        25    213 SW Ash St., Suite 208
        26    Portland, OR 97204
        27    213 SW Ash St., Suite 208
        28    Portland, OR 97204
        29    (503) 295-4039
        30    info@waterwatch.org
        31
        32    Janette Brimmer
        33    jbrimmer@earthjustice.org
        34    Molly Tack-Hooper
        35    mtackhooper@earthjustice.org
        36
        37   1)18 USC 3 accessory after the fact.
        38   2) 16 USCA § 1532(19); see also Goble, D. D.; George, S. M.; Mazaika, K.;
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         1   3) Scott, J. M. & Karl, J. (1999) “Local and national protection of
         2   endangered species: An assessment,” Environmental Science & Policy, 2,
         3   pp. 43-59.
         4   4) 18 U.S. Code § 41 - Hunting, fishing, trapping; disturbance or injury on
         5   wildlife refuges.
         6   5) The Endangered Species Act of 1973,
         7
         8   https://www.fws.gov/laws/endangered-species-act/section-11
         9
        10   6) 18 U.S.C. § 1001 False Statements, Concealment.
        11
        12   7) 29 CFR § 1606.8 (1) – Harassment Has the purpose or effect of creating
        13   an intimidating, hostile or offensive working environment.
        14
        15   8) 28 U.S. Code § 4101 The term “defamation” means any action or other
        16
        17   proceeding for defamation, libel, slander, or similar claim alleging that
        18
        19   forms of speech are false, have caused damage to reputation or
        20
        21   emotional distress, have presented any person in a false light, or have
        22
        23   resulted in criticism, dishonor, or condemnation of any person.
        24
        25   9) 33 U.S.C. §1251 et seq. (1972) Clean water act Section 404.
        26
        27   10) 29 CFR § 1606.8 (1).
        28
        29   11) 28 U.S. Code § 4101.
        30
        31   12) 22–451 June 28th, 2024 Loper Bright Enterprises v. Raimondo and
        32   Relentless, Inc. v. Department of Commerce.
        33   https://www.supremecourt.gov/opinions/23pdf/22-451_7m58.pdf
        34
        35   13) 29 CFR § 1606.8 (1).
        36
        37   14) 28 U.S. Code § 4101.
        38
        39   15) Judges Code of Conduct, Canons 2 and 3;
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         1   https://www.uscourts.gov/judges-judgeships/code-conduct-united-states-
         2   judges.
         3
         4   16) Pagtalunan v. Galaza, 291 F.3d 639, 642 (9th Cir. 2002): Pagtalunan
         5
         6   was Pro Se and made numerous mistakes in filing his complaint resulting
         7
         8   in the case being dismissed. However, upon appeal, the higher Court
         9
        10   ruled that the lower Court was in error because they did not give allowance
        11
        12   for Pagtalunan’s lack of legal training.
        13
        14
        15                                   BACKGROUND
        16
        17                                  Facts of the Case
        18
        19   Plaintiff is advised by a team of 3 professionals, also volunteering, pro se.
        20
        21   One is a 40-year retired, Federal Attorney, expert in the application of
        22
        23   Federal statutory and Case law, environmental law in particular. Another is
        24
        25   an investigative journalist, providing legal research and serving as Legal
        26
        27   Editor for all Court Documents.
        28
        29   On appeal, Plaintiff served the Complaint and Injunction against
        30
        31   Defendants. Plaintiff also filed a WRIT of Mandamus and filed MOTION
        32
        33   FOR DECISION AND EXECUTION OF SUMMARY JUDGMENT (FRCP
        34
        35   56). Plaintiff also mailed a complaint “Judicial Council of the Ninth Circuit
        36
        37   COMPLAINT OF JUDICIAL MISCONDUCT” against the trial court Judge. It
        38
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         1   should arrive by mail the week of October 27th 2024.
         2
         3
         4                                     Conclusion
         5
         6   Judge is Biased because she exhibited a predisposition of her opinion of
         7
         8   plaintiff's complaint by the following words and actions: Defendants were
         9
        10   in default. Plaintiff filed for default judgement. D1, D23 killed fish including
        11
        12   endangered Salmon without permits.
        13
        14   D23 has broken numerous environmental laws which transfer to D1 and
        15
        16   D5 by 18 USC 3 accessory after the fact.
        17
        18   Standing is inherent or built-in by the class action nature of this case and
        19
        20   P2 residing downstream of the environmental damage and Class Action
        21
        22   members, residing only a few miles from the Pomeroy Dam have legal
        23
        24   standing on the basis of direct harm inflicted.
        25
        26   Their life and property are now at risk by the return of surge flood waters
        27
        28   that were endemic prior to installation of the dam. This is more than 10,000
        29
        30   cubic feet per second measured at Kerby station upstream from Cave
        31
        32   Junction. Standing is also inherent by D23 violations of Federal
        33
        34   Environmental law and the seven values articulated therein, reserved for
        35
        36   every citizen of the United States and for the river itself, which Plaintiffs
        37
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         1   represent.
         2
         3   To summarize, egregious errors committed by the lower Court that stand in
         4
         5   need of correction by the 9th Circuit Court of Appeals include
         6
         7       1) Abuse of Administrative Law to override well-documented case facts
         8          and Federal Laws broken under Article III, Section 2 of the U.S.
         9          Constitution. These include:
        10       2) Failure to hold defendants accountable for deceptively claiming that
        11          the Illinois River is not a Wild and Scenic River on their joint
        12          application.
        13       3) Failure to hold Defendants accountable for deceptively claiming that
        14          the Pomeroy dam is an impediment to Salmon migration, in spite of
        15          abundant evidence to the contrary.
        16       4) Failure to hold Defendants accountable by not granting Plaintiff
        17          victory by default judgment after Defendants failed to make any
        18          response to the Complaint.
        19

        20
        21
        22                             PRAYER FOR RELIEF
        23
        24       1. Plaintiff respectfully requests the Federal Court to acknowledge legal
        25          standing already granted by the lower court, Federal Environmental
        26          laws broken, and associated 7 Values denied to Plaintiffs, local
        27          stakeholders, and class action members due to harms inflicted by D1,
        28          D23’ malfeasance.
        29
        30       2. Plaintiff respectfully requests the Federal Court to initiate strong
        31
        32          adjudication of Defendants to the Federal Prosecutor for felony
        33
        34          charges against their acts of vandalism.
        35
        36       3. Plaintiff hereby respectfully requests the Court to charge Plaintiff and
        37
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         1          his team of engineers and scientists with the task of restoring the
         2          Illinois River back to its Original Wild and Scenic condition with dams
         3          and a water wheel for power generation.
         4
         5       4. Grant Injunctive Relief to halt all further vandalism of the Pomeroy
         6          Dam.
         7
         8       5. Also, we entreat the Court to issue a Summary Judgment because
         9
        10          Defendants continue to ignore what they are legally required to do by
        11
        12          the Army Corp of Engineers, and the Federal Clean Water Act,
        13
        14          Section 404. The gravity of this case requires a court order that
        15
        16          commands a government official or entity to perform an act it is
        17
        18          legally required to perform as part of its official duties, or refrain from
        19
        20          performing an act the law forbids.
        21
        22       6. Plaintiff hereby respectfully requests the court to order Defendants
        23
        24          to immediately stop deconstruction plans of any dam and transfer all
        25
        26          remaining control and funds to Salmon Protection Device non-profit
        27
        28          for remediation.
        29
        30          Salmonprotectiondevice.com retains engineers and scientists who
        31
        32          know how to mitigate the contaminated silt, dredge behind the dam
        33
        34          site, and install a fish ladder on the new Pomeroy Dam.
        35
        36
        37       7. Plaintiff hereby respectfully requests the court to provide relief for
        38
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         1          and take judicial notice of the lethal environmental consequences
         2
         3          D23’s actions, which must cease immediately.
         4
         5       8. The Court is entreated to rule the Salmon Protection Device
         6
         7          remediation team commence the task of project mitigation
         8
         9          immediately, to avoid more lethal environmental consequences of
        10
        11          D23’s gross negligence.
        12
        13
        14       9. Plaintiff respectfully requests the Federal Appeals Court to provide
        15          any cost up to $1 million to Plaintiff’s mitigation team as the court
        16          sees fit.
        17       10.       Plaintiff hereby respectfully requests that the 9th Circuit Appeals
        18          Court issue an official notification to all courts in its jurisdiction,
        19          ordering them that Administrative Law shall no longer take
        20          precedence over Article III, Section 2 of the U.S. Constitution, or
        21          standing case law and statute law made in pursuance thereof (U.S.
        22          Supreme Court, Loper Case 22-451). Case 21dr02783, Marriage
        23          Dissolution, now in Federal Court with a writ of error as 3:24-cv-
        24          01702-AR and the current Case might be used as prime examples of
        25          such abuse and violations of the Judicial Code of Conduct.
        26       11.       Plaintiff hereby respectfully moves the Court to require that all
        27          future river reclamation projects within the purview of the Ninth Circuit
        28          Court shall comply with the intent of the Wild and Scenic Rivers Act,
        29          Section 7IA2,3 to preserve existing dam projects from removal, by the
        30          far less draconian strategy of
        31
        32                1. Dredging behind the dam and heat-scrubbing silt on-site
        33                2. Installing or repairing fish ladders on each dam
        34                3. Installing Salmon Protection Device cages at the foot of the fish
        35                   ladder on the lower dam if needed to deter predatory Sea Lions
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         1             4. Treating reservoirs for algae or other contaminants, if
         2                necessary
         3          https://www.rivers.gov/rivers/rivers/sites/rivers/files/2023-
         4          07/section-7.pdf
         5
         6
         7
         8   CERTIFICATE OF SERVICE
         9   I hereby certify that on October 24th, 2024, a true and correct copy of the
        10   above document was electronically filed with the Clerk of the Court using
        11   CM/ECF. A copy of the document will be served upon interested parties via
        12   the Notices of Electronic Filing that are generated by CM/ECF. Additionally,
        13   a courtesy copy is being provided as follows:
        14
        15   Attorney for Legal Counsel for D23 defendants
        16
        17   Kaitlin Lovell
        18
        19   Attorney-Advisor
        20
        21   213 SW Ash St., Suite 208
        22
        23   Portland, OR 97204
        24
        25   213 SW Ash St., Suite 208
        26
        27   Portland, OR 97204
        28
        29   (503) 295-4039
        30
        31   info@waterwatch.org
        32
        33
        34
        35   Janette Brimmer
        36
        37   jbrimmer@earthjustice.org
        38
        39   Molly Tack-Hooper
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                                                      10


         1
         2   mtackhooper@earthjustice.org
         3
         4   mitt@dietrichconst.com
         5
         6   info@riverdesigngroup.com
         7
         8
         9
        10   ___ Via hand delivery
        11   ___ Via U.S. Mail, 1st Class,
        12   Postage Prepaid
        13   ___ Via Overnight Delivery
        14   ___ Via Facsimile
        15   XX Via Email
        16   XX Via CM/ECF notification
        17   to the extent registered DATED: October 24th, 2024.
        18   By: David White
        19


        20
        21   David C. White Pro Se. October 24th, 2024.
        22
